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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                NORTHERN DIVISION

                                                 :
Jason Schmitt,                                   :
                                                 :
                                                 :
                      Plaintiff,                 :
                                                   Civil Action No.: 1:13-cv-00593-WMN
       v.                                        :
                                                 :
Avadanian & Adler, LLC; and DOES 1-10,           :
                                                                                                   (
inclusive,                                       :
                                                                                                   D
                                                 :
                                                                                                   R
                                                 :
                                                                                                   H
                      Defendant.                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days. The

Plaintiff hereby respectfully requests above-entitled Court to enter Rule 111 Order.



Dated: May 20, 2013

                                             Respectfully submitted,

                                             By     /s/ Sergei Lemberg
                                             Sergei Lemberg, Esq.
                                             LEMBERG & ASSOCIATES L.L.C.
                                             1100 Summer Street, 3rd Floor
                                             Stamford, CT 06905
                                             Telephone: (203) 653-2250
                                             Facsimile: (203) 653-3424
                                             Facsimile: (203) 653-3424
                                             ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2013, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court District of Maryland Electronic
Document Filing System (ECF) and that the document is available on the ECF system.

                                             By_/s/ Sergei Lemberg_______

                                                    Sergei Lemberg
